















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






WR - 61,225-01






EX PARTE JONATHAN MARCUS GREEN








ON APPLICATION FOR WRIT OF HABEAS CORPUS 


FROM CAUSE NO. 00-10-06435-CR IN THE 221ST DISTRICT COURT OF


MONTGOMERY COUNTY





	Per curiam.  


O R D E R



	This is an application for writ of habeas corpus filed pursuant to Article 11.071 of
the Texas Code of Criminal Procedure.

	On July 17, 2002, Applicant was convicted of the offense of capital murder.  The
jury answered the special issues submitted pursuant to Article 37.071 of the Texas Code
of Criminal Procedure, and the trial court set punishment at death.  Applicant's conviction
was affirmed on direct appeal.  Green v. State, No. 74,398 (Tex. Crim. App.)(delivered
December 1, 2004).

	Applicant presents nine allegations in his application in which he challenges the
validity of his conviction and resulting sentence.  The trial court entered findings of fact
and conclusions of law and recommended that relief be denied. 

	This Court has reviewed the record.  We adopt the trial judge's findings and
conclusions.  Based upon the trial court's findings and conclusions and our own review,
the relief sought is denied.			

	IT IS SO ORDERED THIS THE 23RD DAY OF MARCH, 2005.


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